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                                                               May 27, 2022

VIA ECF
Honorable Edward S. Kiel, U.S.M.J.
United States District Court for the District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07102

Re:       Pearson Education, Inc. v. Chegg, Inc.
          Civil Action No. 2:21-cv-16866-SDW-ESK

Dear Judge Kiel:

        Further to the direction provided by Your Honor during the April 25, 2022 telephone
conference, I write on behalf of both parties to request that the Court extend the date to bring
before the Court “[a]ll disputes relating to written discovery requests,” which is currently set for
May 31, 2022. ECF. No. 38, ¶ 8. We respectfully request that the period be extended through
September 30, 2022. 1 If Your Honor approves the proposed new deadline, we respectfully
request that the new date be “So Ordered” below and entered on the docket.

          Thank you for Your Honor’s kind attention to this matter.

                                                               Respectfully submitted,

                                                               s/ Karen A. Confoy

                                                               Karen A. Confoy

1
  We also request that this deadline not apply to disputes relating to contention interrogatories. Local Civil Rule
33.1(d) provides “[c]ontention interrogatories shall not be served until 60 days prior to the close of fact discovery
unless otherwise permitted by the Court.” The parties currently disagree regarding the need to depart from the Local
Rules and provide for a longer period of time, and will defer to Your Honor regarding when the issue will be timely
for consideration.

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Cc:     Counsel of Record (via ECF)



                                      SO ORDERED this 3rd day of June, 2022

                                              /s/ Edward S. Kiel
                                            _____________________________
                                            Hon. Edward S. Kiel, U.S.M.J.




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